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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

CYNTHIA L. MERLINI,                             )
                                                )
                  Plaintiff,                    )
                                                )
                                                )
                                                )      Case No. I :17-cv-I0519-NMG
                  v.                            )
                                                )
CANADA                                          )
                                                )
                  Defendant.                    )
------------------------)

                       CERTIFICATION BY D. EDWARD (ED) WILSON, JR.
                             FOR PRO HAC VICE APPLICATION

           In accordance with Rule 83.5.3 of the Local Rules of the District of Massachusetts, I

certifY that:

      I.          I am a member of the following bars: District of Columbia and Louisiana.

      2.          I am in good standing of every jurisdiction where I have been admitted to

                  practice.

      3.          There are no disciplinary proceedings pending against me in any jurisdiction.

      4.          I have not previously had a pro hac admission to this Court, or other admission

for a limited purpose, revoked for misconduct.

      5.          I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.
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                                  /s/ D. Edward (Ed) Wilson. Jr.
                                  D. Edward (Ed) Wilson, Jr.
                                  Venable, LLP
                                  600 Massachusetts Avenue, NW
                                  Washington, DC 20001
                                  Telephone: (202) 344-4819
                                  Facsimile: (202) 344.8300
                                  dewilson@venable.com
